                         Case 1:17-cv-01448-JKB Document 2 Filed 05/25/17 Page 1 of 16                    s
                         MARYLAND
                                     IN THE CIRCUIT COURT OF THE CITY OF BALTIMORE


                         VADIM A. MEDISH
                         5037 Eskridge Terrace, N.W.
                         Washington, D.C. 20016

                         and

                         MARK C. MEDISH, Individually and as
                         Parent and Legal Guardian of Vadim A.
                         Medish
                         5037 Eskridge Terrace, N.W.
                         Washington, D.C. 20016

                         and

                         SUE EDWARDS, Individually and as
                         Parent of Vadim A. Medish
                         5037 Eskridge Terrace, N.W.
                         Washington, D.C. 20016

                                       Plaintiffs,
                                                                   Case No.: ~::r   0    02-
                                                                                            1 'I   t;""


                                v.

                         THE JOHNS HOPKINS HEALTH
                         SYSTEM CORPORATION TIA JOHNS
                         HOPKINS MEDICINE AND
                         THE JOHNS HOPKINS HOSPITAL TIA
                         THE JOHNS HOPKINS HOSPITAL,
                         INC.,

                          and

                          THE JOHNS HOPKINS HOSPITAL
  Regan zambri long       600 North Wolfe Street
  1919 M Street. NW
       Suite 350          Baltimore, Maryland 21205
Washington, D.C. 20036

    202.463-3030
 Case 1:17-cv-01448-JKB Document 2 Filed 05/25/17 Page 2 of 16

 Serve: Joanne E. Pollack, Esq.
        Administration 414
        600 North Wolfe Street
        Baltimore, Maryland 21205

 and

 SUBASH CHANDRA, M.D.
 600 North Wolfe Street
 Baltimore, Maryland 21205


               Defendants.


                                COMPLAINT FOR DAMAGES
                                   (Medical Negligence)

                                JURISDICTION AND VENUE


        I.    Jurisdiction     in this court arises under the State of Maryland        Court and

Judicial Proceedings Article g6-103, et~.

       2.     Venue        in this Court is appropriate         SInce the negligent   acts and/or

omissions complained of occurred in Baltimore, Maryland.

       3.     Plaintiffs     filed their original claim with the Health         Care Alternative

Dispute Resolution Office of the State of Maryland on April 19, 2016.

       4.     On March         29, 2017,   Plaintiffs   filed    a Waiver    of Arbitration   and

accompanying Certificate and Report of Meritorious Claim from their qualified expert.

       5.     On March 29, 2017. Harry L. Chase, Director, Health Care Alternative

Dispute Resolution Office, issued an Order of Transfer.




                                              -2-
 Case 1:17-cv-01448-JKB Document 2 Filed 05/25/17 Page 3 of 16

       6.      Accordingly,    Plaintiffs have complied with the applicable requirements         of

Maryland law pertaining to the filing of medical negligence claims.

                                         PARTIES

       7.      At all times relevant hereto, Plaintiff Vadim A. Medish was and is an adult

citizen and resident of the District of Columbia.

       8.      At    all    times    relevant     hereto,   Plaintiff   Mark        C.      Medish

was and is an adult citizen and resident of the District of Columbia and the parent and

legal guardian of Vadim A. Medish, pursuant to the July 28,2015         Order of the Superior

Court of the District of Columbia, Probate Division.

       9.      At all times relevant hereto, Plaintiff Sue Edwards was and is an adult

citizen and resident of the District of Columbia and the parent of Vadim A. Medish.

       10.     Defendants     The Johns Hopkins Health System Corporation                 tJa Johns

Hopkins Medicine, The Johns Hopkins Hospital tJa The Johns Hopkins Hospital, Inc.

and The Johns Hopkins Hospital are collectively referred to herein as "JHH Defendant"

or "JHH."

       II.     Upon information and belief, at all times relevant hereto, JHH Defendant

was and is a medical facility licensed to do business in and conducting business in the

State of Maryland.

       12.     Upon information     and belief, at all times relevant     hereto,        Defendant

Subash Chandra, M.D. was and is a physician licensed to practice medicine in the State

of Maryland.




                                                -3-
  Case 1:17-cv-01448-JKB Document 2 Filed 05/25/17 Page 4 of 16

         13.     Upon further information         and belief, at all relevant times herein, Dr.

  Chandra held herself out to Plaintiffs and to the general public as a professional            who

 took all the necessary care and precaution in the practice of her profession and who was

 qualified to administer to her patients based on their medical needs with all necessary

 care and precaution expected of other physicians in his field.

        14.      Upon    further   information     and   belief,   at all relevant   times   herein,

 Dr~Chandra was an agent, servant and/or employee of JHH Defendant.

        15.      Upon further information and belief, at all times relevant hereto, each of

 Ellen Mahar Mowry, M.D., Olga Fermo, M.D., Vinay Chaudry, MD., Defendant Dr.

 Chandra,     Yuval Patel, M.D., Jessica Lea Klein, M.D., David M. Cromwell,                 M.D.,

 Katherine Wu, M.D., Scott Newsome,              M.D., Sandeep Bansal, M.D., Christa Whelan

Habela, M.D., Sara Hardy, M.D., Jessica M. Reardon, D.O., Benjamin James Barnes,

M.D. and other agents, servants and/or employees of JHH Defendant who provided care

and treatment to Plaintiff Vadim A. Medish (collectively, all named and unnamed health

care providers are refeITed to herein as the "JHH Providers") were and are health care

providers licensed to practice their respective areas of specialty in the State of Maryland.

       16.      Upon further information and belief, at all times relevant hereto, the JHH

Providers who provided care and treatment to Plaintiff Vadim A. Medish were acting as

agents, servants     and/or employees     of JHH when they provided            medical   care and

treatment to Plaintiff Vadim A. Medish, and JHH is vicariously liable for all acts and/or

omissions thereof.




                                                 -4 -
 Case 1:17-cv-01448-JKB Document 2 Filed 05/25/17 Page 5 of 16

        17.    Upon further information      and belief, at all times relevant hereto, the

negligent acts and/or omissions committed by the JHH Providers occurred in the State of

Maryland.

        18.    Upon further information and belief, at all times relevant hereto, the JHH

Providers held themselves     out to Plaintiffs and to the general public as professionals

who took all the necessary care and precaution in the practice of their respective areas of

specialty and who were qualified to administer to their respective patients based on their

medical needs with all necessary care and precaution            expected of other health care

providers in their respective fields.

       19.     Upon further information and belief, JHH is vicariously liable for all acts

and/or omissions    of the JHH Providers who provided care and treatment to Plaintiff

Vadim A. Medish on the basis of apparent authority insofar as JHH led Plaintiffs to

believe that said JHH Providers were agents of JHH, and Plaintiffs reasonably          relied

upon said agency.


                                           FACTS

       20.    Upon information       and belief, while   III   his second year of college   in

Boston, Massachusetts,   Plaintiff Vadim A. Medish enjoyed his usual state of good health

until October 2012, when he began to experience severe fatigue of unknown etiology.

       21.    Upon further information and belief, in the months that followed, Vadim's

fatigue became progressive,       and he began to experience       altered mental status and

associated neurologic deficits.    He was evaluated by various health care providers and



                                            -5-
 Case 1:17-cv-01448-JKB Document 2 Filed 05/25/17 Page 6 of 16

 was ultimately admitted to Boston Children's              Hospital for altered mental status, among

 other things, where chest CT revealed a mediastinal                tumor, later determined             to be a

 seminoma, which was excised on April 3, 2013.

        22.      Upon further information and belief, Vadim remained at Boston Children's

 Hospital until April 21, 2013, when he was transferred to JHH with admission diagnoses

that included anti-Ma2 paraneoplastic            encephalitis secondary to mediastinal seminoma.

At the time of admission, JHH Providers formulated a plan of care that included steroid

therapy,      intravenous       immunoglobulin        C"IVIG")     therapy,      Rituxan,          anti-seizure

medication, and other interventions.

       23.       Upon       further   information    and belief,    in the initial          days     following

admission,     Vadim' s neurologic         status fluctuated    with periods of alertness,             lack of

orientation or awareness, dysarthria and agitation, among other things.

       24.       Upon further information           and belief, on or about April 25, 2013, JHH

Providers concluded that Vadim was improved neurologically                     relative to his condition

two weeks prior and noted progressively               improving interactions       with others and that

periods of alertness and dysarthria were related to his level of somnolence.

       25.      Upon further information and belief, despite this improvement,                       on April

30, 2013, Vadim         suffered      multiple   generalized   seizures;     due to somnolence             and

declining     oxygen    saturation     levels, he was emergently           intubated   without        reported

complication     and transferred        to the Critical Care Unit ("CCU").              JHH Providers

determined      that    Vadim         snffered   status    epilepticus      related    to     encephalitis.




                                                    -6 -
 Case 1:17-cv-01448-JKB Document 2 Filed 05/25/17 Page 7 of 16

 Electroencephalogram      ("EEG")    was indicative   of the presence    of diffuse   cerebral

 disturbance and a focal left temporal epileptogenic zone.

        26.    Upon further information and belief, Vadim's seizure activity resolved; he

 remained in the CCU, and, on May I, 2013, he was extubated.                 Treatment      with

 Cyclophosphamide,      a cytotoxic medication, was initiated.

       27.     Upon further information      and belief, in the days that followed, Vadim's

neurologic status showed improvement;         however, reportedly    due to sOllmolence and

cognitive impairment, he sustained a near 10% weight loss from the time of admission.

       28.    Upon further information and belief, on May 7, 2013, Vadim was viewed

as neurologically stable and was transferred from the CCU to a medical-surgical        floor.

       29.    Upon further information       and belief, in the days that followed,     Vadim

exhibited episodic alertness that facilitated meaningful interaction and conversation      with

JHH Providers and others despite a short attention span. He began following commands

with improved intelligibility,    and brain imaging showed persistence      of inflammatory

activity within certain defined areas.    JHH Providers continued to manage episodes of

hyponatremia and intermittent fever, and blood cultures revealed infection at the site of

his PICC line. Antibiotics were added to his treatment plan by JHH Providers.

       30.    Upon further information      and belief, Vadim continued     to improve with

normal motor function and resolved infection at the PICC line site, yet he continued to

have episodes of intermittent tachycardia, fever and hyponatremia.




                                             -7-
 Case 1:17-cv-01448-JKB Document 2 Filed 05/25/17 Page 8 of 16

         31.      Upon further information      and belief, on or about May 18, 2013, JHH

 Providers considered     a possible trial of IVIG treatment and a return to the CCU for

 monitoring during infusion; however, on May 21, 2013, IVIG infusions were started on

 the floor due to CCU bed unavailability with monitoring by JHH Providers.

         32.      Upon further information       and belief, the following     day, Vadim    was

 diagnosed      with unintended   weight     loss related   to his diagnosis   of paraneoplastic

encephalitis, alertness level, dysphagia, feeding assistance, and fluid status change.        He

continued to have extensive periods of somnolence and intermittent fever, thought to be

related to hypothalamic      inflammation.     JHH Providers continued IVIG treatment and,

due to somnolence, discontinued       oral anti-epileptic   medications and began intravenous

medications.

        33.       Upon further information     and belief, on May 24, 2013, JHH Providers

concluded       that Vadim had become too lethargic to eat and therefore          recommended

nasoduodenal tube ("NDT") placement for feeding. The NDT was placed that same day.

EEG performed on this date revealed bilateral increased slowed activity/bihemishperic

discharge.

        34.      Upon further information      and belief, on or about May 26, 2013, JHH

Providers determined that Vadim's NDT became kinked, necessitating removal.              He was

unable to take food or medicine by mouth with the exception of "critical" medications _

sodium supplements and laxatives due to concern for possible bowel obstruction and/or

constipation.    On that same day, Vadim began to suffer episodes of desaturation           that




                                               -8-
  Case 1:17-cv-01448-JKB Document 2 Filed 05/25/17 Page 9 of 16

 improved      with positioning     and suctioning      of oral secretions.     Blood cultures were

 negative and chest x-ray was unremarkable,             yet Vadim continued to have leukocytosis

 and intermittent increasing tachycardia and fever.             He remained neurologically        stable

 despite his somnolence of unknown etiology.

        35.      Upon further information and belief, JHH Providers became increasingly

concerned for bowel obstruction due to abdominal distention and reduced bowel sounds,

among other things.       A General Surgery consult noted a very low likelihood for bowel

obstruction     and recommended        the addition of a bowel cleanse and bowel regimen to

Vadim's treatment plan. A nasogastric tube was placed that same day.

        36.      Upon further information and belief, on May 28, 2013, Vadim remained

neurologically       stable     with    an   improved        abdominal     examination     following

implementation       of   General      Surgery    consult    recommendations.        His   need     for

supplemental      oxygen continued,      and arterial blood gas testing ("ABG") results were

noted to be consistent with hypoventilation.         He remained unable to take food or fluid by

mouth due to concern for aspiration, with secretions throughout his oral cavity.

       37.       Upon further information        and belief, in the days that followed, Vadim's

need for supplemental         oxygen persisted,    and brain imaging revealed stable findings.

JHH Providers concluded that, from a clinical standpoint, Vadim had been stable for the

previous seven to IO days. He continued to experience intermittent fever, leukocytosis,

tachycardia,     and increased    tracheal secretions       believed   to be due to hypothalamic




                                                  -9-
 Case 1:17-cv-01448-JKB Document 2 Filed 05/25/17 Page 10 of 16

 inflammation.        PET Scan ordered by JHH Providers revealed no metabolic evidence of

 residual malignancy.

          38.       Upon further information and belief, on June 1,2013, JHH Providers noted

 an acute change in Yadim's mental status, increased somnolence and increased need for

 supplemental oxygenation due to hypoventilation             secondary to lethargy as evidenced by

 ABGs and considered transfer to CCU.

          39.       Upon further information      and belief, in the days that followed,      EEG

 showed         improvement     since   the previous     study,   and a percutaneous    endoscopic

gastrostomy        ("PEG") tube was placed, allowing nutrition, fluids and/or medications        to

be delivered directly into his stomach.            Brain imaging revealed stable findings, and

Yadim enjoyed episodes of increased interaction with JHH Providers and family, at

times smiling appropriately.            JHH Providers administered      Yadim's   second course of

Cyclophosphamide.

          40.       Upon further information     and belief, on or about June 7, 2013, JHH

Providers began planning for rehabilitation            despite the fact that Yadim was becoming

increasingly somnolent with diminishing episodes of meaningful interaction with JHH

Providers and family.         Yadim also remailied persistently tachycardic and continued to

generate tracheal secretions with JHH Providers ordering suctioning every six hours as

needed.         Yadim's   overall decline persisted,     and, on or about June 14, 2013, Yadim

desaturated       to 89% while on room air and was found to be dyspneic with reduced




                                                 - 10-
Case 1:17-cv-01448-JKB Document 2 Filed 05/25/17 Page 11 of 16

respiratory effort.   He was placed on supplemental oxygen which improved his oxygen

saturation level. Chest x-ray was unremarkable.

       41.      Upon further information      and belief, on June 15, 2013 and into the

morning hours of June 16, 2013, Vadim was febrile, tachycardic, and hypotensive with

electrocardiogram     yielding abnormal    findings.      His secretions     and requirements    for

supplemental oxygenation increased, at times reaching 6 liters per minute and requiring

bagging.     His. respiratory effort was noted by JHH Providers as very weak, and lung

sounds in the left hemithorax region were diminished.               ABGs drawn on June 16, 2013

revealed hypercapnic     respiratory failure, consistent with results from May 28, 2013.

JHH Providers noted that Vadim was likely in hypothalamic                  autonomic storm during

which time he was severely         tachycardic,    dyspneic,    hypoxic,     hypercapnic   and less

responsi ve.

       42.      Upon further information and belief, during the evening hours of June 16,

2013, JHH Providers       deemed    it necessary      to transfer    Vadim to the CCU due to

hypercapnia    in the setting of hypoventilation       and decreased responsiveness.        He was

admitted     to the CCU at approximately          7:30 p.m. with a plan for intubation           for

hypercapnic respiratory failure.

       43.      Upon further information    and belief, in preparation        for intubation,   JHH

Providers administered    propofol and succinylcholine,        following which Vadim became

severely hypotensive     and developed ventricular       tachycardia    followed by undetectable




                                             - 11 -
Case 1:17-cv-01448-JKB Document 2 Filed 05/25/17 Page 12 of 16

pulse.       Cardiopulmonary        resuscitation     began at 9:40 p.m., and spontaneous              cardiac

rhythm was restored 12 minutes later at 9:52 p.m.

         44.       Upon further information and belief, following Vadim's arrest on June 16,

2013, JHH Providers conducted various diagnostic testing in order to identify the cause

of Vadim's         cardiac     arrest,    including    cardiac      disease,   pulmonary      embolism     and

metastatic       disease     process,    among      other      things.   EEG    revealed     diffuse   cerebral

disturbance,      and Vadim remained             unresponsive        and intubated    in the CCU, having

sustained significant deterioration per JHH Providers.

         45.      Upon further information            and belief, in the weeks following his cardiac

arrest, Vadim remained intubated and unresponsive,                       with progressive    weight loss, and

suffered countless complications,              including pneumonia and infection with clostridium

difficile.     JHH Providers       determined       that further therapy directed           at paraneoplastic

inflammatory process was not indicated due to Vadim's compromised condition.

         46.      Upon further information and belief, Vadim was discharged from JHH on

September 13,2013.           At the time of discharge, Vadim remained in critical condition.                He

was transferred to Children's            National Medical Center, where he remained until May

2014.

         47.      Upon further information and belief, since the time of his June 16, 2013

arrest, Vadim has remained               ventilator-dependent        and has endured        multiple hospital

admissions, recurrent pneumonia, tracheitis and clostridium difficile and other infectious

processes, malnutrition,         electrolyte    abnormalities,       dysautonomia     and anemia, among




                                                      - 12 -
Case 1:17-cv-01448-JKB Document 2 Filed 05/25/17 Page 13 of 16

other things. Vadim has suffered catastrophic neurologic and cognitive injuries and remains

completely dependent on others for all activities of daily living and requires continuous

care.

        48.    Upon further information and belief, from the time of admission at JHH

through the time prior to his cardiac arrest on June 16, 2013, Vadim's overall clinical

condition, brain imaging and other studies had revealed some measure of improvement;

accordingly,   JHH Providers entered early planning stages for rehabilitation            pending

continued neurologic and cognitive recovery.            As a result of his cardiac arrest on June

16, 2013 and prolonged anoxia, Vadim sustained severe and debilitating brain damage

and its sequelae, some or all of which is irreversible and permanent in nature.

                                           COUNT I
                                    (Medical Negligence)

        49.    Plaintiffs incorporate,   by reference, paragraphs      1 through 48 above, and

further allege that, at all times relevant to the allegations herein, Plaintiff Vadim A.

Medish had a health care provider-patient        relationship with each of the Defendants and

the JHH Providers, including without limitation, Dr. Mowry, Dr. Fermo, Dr. Chaudry,

Defendant Dr. Chandra, Dr. Patel, Dr. Klein, Dr. Cromwell, Dr. Wu, Dr. Newsome, Dr.

Bansal, Dr. Whelan Habela, Dr. Hardy, Dr. Reardon, Dr. Barnes and other agents,

servants and/or employees      of JHH Defendant          who provided care and treatment       to

Plaintiff Vadim A. Medish.      Accordingly,     Plaintiffs allege that each of the Defendants

and the JHH Providers had a duty to provide Plaintiff Vadim A. Medish with medical




                                               - 13 -
Case 1:17-cv-01448-JKB Document 2 Filed 05/25/17 Page 14 of 16

and/or other care and treatment consistent with the applicable national standard of care

under the same or similar circumstances.

        50.     Plaintiffs   further   allege that the Defendants           and the JHH     Providers

identified    above violated the national standard of care as practiced                by reasonably

competent health care providers under the same or similar circumstances,                    and, as a

result, Plaintiff Vadim A. Medish suffered permanent and extensive physical, cognitive

and emotional injuries and other damages.                The negligent care and/or treatment by the

Defendants and the JHH Providers, included, but was not limited to, the following:                 (a)

the failure to perform and correctly interpret the necessary diagnostic and other studies

and the related failure to formulate an effective and appropriate treatment plan given

Vadim A. Medish's clinical presentation on April 21, 2013 and thereafter; (b) the failure to

recognize and appreciate that Vadim A. Medish suffered respiratory failure beginning on

May 28,2013 and thereafter, including the failure to recognize and appropriately interpret

the results of ABG testing as revealing hypercapnic respiratory failure; (c) the failure to

promptly transfer Vadim A. Medish to the CCU or other intensive care unit beginning on

May 28, 2013 and thereafter            due to hypercapnic         respiratory   failure and for close

monitoring and appropriate interventions,           including intubation, judicious     supplemental

oxygenation and/or other respiratory support; (d) the failure to recognize beginning on

May 28, 2013 that Vadim A. Medish required judicious supplemental oxygenation due to

hypercapnic respiratory failure; (e) the failure to recognize beginning on May 28, 2013

that Vadim A. Medish's       deterioration/instability     was not due to fever and tachycardia;   (I)




                                                 - 14 -
Case 1:17-cv-01448-JKB Document 2 Filed 05/25/17 Page 15 of 16

the failure to intubate Vadim A. Medish in the early morning hours of June 16, 2013 due

to the change in his clinical condition during the previous day and overnight events; (g)

the failure to recognize and appreciate that treatment with clonidine and a beta-blocker

was not appropriate in response to Vadim A. Medish' s hypercapnic respiratory failure;

(h) the failure to proceed with intubation              on June 16, 2013 in a safe, prudent and

effective manner so as to avoid cardiac arrest; (i) the failure to confirm proper initial and

continued placement        of Vadim A. Medish's                PEG tube, particularly   in light of his

progressive   weight       loss,   clinical     presentation     and associated   decline     in clinical

condition; and (j) the failure to otherwise             act as reasonably     competent      health care

providers under the circumstances.

       51.    Plaintiffs     further allege that, as a direct and proximate                 result of the

negligent acts and/or omissions of the Defendants and the JHH Providers as aforesaid,

Plaintiff Vadim A. Medish has suffered, continues to suffer, and will in the future suffer

significant and severe physical pain and suffering, neurologic and cognitive damages,

discomfort, mental anguish, loss of enjoyment of life, and other damages.

       52.    Plaintiffs further allege that the Defendants and the JHH Providers violated

the applicable standard of care as practiced by reasonably competent practitioners under

the same or similar circumstances             as aforesaid, and, as a direct and proximate result of

the violation of the applicable standard of care, Plaintiff Vadim A. Medish has incurred

and will continue to incur significant medical expenses for his care and treatment and

has incurred and will continue to incur significant lost wages as a result.




                                                    - 15 -
Case 1:17-cv-01448-JKB Document 2 Filed 05/25/17 Page 16 of 16

          53.    Venue is appropriate in Baltimore City, Maryland.

          WHEREFORE,       Plaintiffs demand judgment in an amount that exceeds $75,000

plus interest and costs.

                                      JURY TRIAL DEMAND

          Plaintiffs, through counsel, respectfully request a trial by jury on all of the above

claims.

                                                       Respectfully submitted,




                                                                  c M.Re
                                                              regan@reganfirm.com
                                                            Jacqueline T. Colclough
                                                            jcolclough@reganfirm.com
                                                             1919 M Street, N.W., Suite 350
                                                            Washington, D.C. 20036-3521
                                                            (202) 463-3030
                                                            (202) 463-0667 (Fax)
                                                            Counsel/or Plaintiffs




                                             - 16 -
